          Case 2:14-cr-00120-SMJ           ECF No. 170       filed 03/27/15         PageID.675 Page 1 of 2
O PS 8
(3/15)


                              UNITED STATES DISTRICT COURT                                             FILED IN THE
                                                                                                   U.S. DISTRICT COURT
                                                                                             EASTERN DISTRICT OF WASHINGTON

                                                            for
                                                                                              Mar 27, 2015
                                           Eastern District of Washington
                                                                                                  SEAN F. MCAVOY, CLERK




U.S.A. vs.                    Scott, Alycia Jean                       Docket No.             2:14CR00120-SMJ-3


                                Petition for Action on Conditions of Pretrial Release

COMES NOW Erik Carlson, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct of
defendant Alycia Jean Scott, who was placed under pretrial release supervision by the Honorable U.S. Magistrate Judge
John T. Rodgers sitting in the court at Spokane, Washington, on the 30th day of September 2014, under the following
conditions:

Standard Condition #9: Defendant shall refrain from the use or unlawful possession of a narcotic drug or other controlled
substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical practioner. Defendant may not use or
possess, regardless of whether Defenant has been prescribed a medical marijuana card.

Special Condition #18: Substance Abuse Evaluation: Defendant shall undergo a substance abuse evaluation as directed
by a U.S. Probation Officer.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:


Violation #1: The defendant ingested marijuana.

Violation #2: The defendant failed to particpate in a substance abuse evaluation.

                          PRAYING THAT THE COURT WILL ORDER A SUMMONS

                                                                         I declare under the penalty of perjury
                                                                         that the foregoing is true and correct.
                                                                         Executed on:       March 27, 2015
                                                                  by     s/Erik Carlson
                                                                         Erik Carlson
                                                                         U.S. Pretrial Services Officer
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  Re: Scott,, Alycia Jean
  March 27, 2015
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THE COURT ORDERS

[ ]      No Action
[ ]      The Issuance of a Warrant
[ 9]     The Issuance of a Summons
[ ]      The incorporation of the violation(s) contained in this
         petition with the other violations pending before the
         Court.
[ ]      Defendant to appear before the Judge assigned to the case.
[ ]      Defendant to appear before the Magistrate Judge.
[ ]      Other


                                                                      Signature of Judicial Officer

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                                                                      Date
